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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                            AUGUSTA DIVISION

IN THE MATTER OF THE SEARCH
OF INFORMATION ASSOCIATED
WITH THE GOOGLE ACCOUNT(s)                 Case No.1:22-MJ-0001-BKE
biggdogg30@gmail.com and
mg54548@gmail.com                          Filed Under Seal
THAT IS STORED AT PREMISES
CONTROLLED BY GOOGLE LLC

           GOVERNMENT’S MOTION TO SEAL SEARCH WARRANT
                    AND ALL RELATED PAPERS

      COMES NOW, the United States of America, by and through David H. Estes,

United States Attorney for the Southern District of Georgia, and the undersigned

Assistant United States Attorney, and moves the Court to SEAL the search warrant,

this Motion, and all other related papers in the above-captioned case, showing the

Court as follows:

      1)      On or about this date, a search warrant as captioned above was issued.

      2)      Publication of the search warrant and related papers could compromise

this on-going investigation.

      Respectfully submitted this 5th day of January 2022


                                              DAVID H. ESTES
                                              UNITED STATES ATTORNEY

                                              s/ JEREMAH JOHNSON
                                              Assistant United States Attorney
                                              Georgia Bar No. 527699
